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 9   Attorneys for Plaintiff and the Classes
10
                            UNITED STATES DISTRICT COURT
11                         CENTRAL DISTRICT OF CALIFORNIA
12
                                 WESTERN DIVISION

13   Bryce Abbink, individually and on
14   behalf of all others similarly situated,             Case No. 8:19-cv-01257-JFW-PJW

15                                  Plaintiff,               NOTICE OF MOTION AND
16
                                                             MOTION FOR ALTERNATIVE
     v.                                                      SERVICE UPON UNIFIED
17                                                           DOCUMENT SERVICES, LLC
18   Experian Information Solutions, Inc.,
     an Ohio corporation, Lend Tech                          Date: September 16, 2019
19   Loans, Inc., a California corporation,                  Time: 1:30 p.m.
20   and Unified Document Services, LLC,                     Judge: Hon. John F. Walter
     a California Limited Liability                          Courtroom: 7A
21   Company,                                                Complaint Filed: June 21, 2019
22                              Defendants.
23
           PLEASE TAKE NOTICE that on Monday, September 16, 2019, at 1:30
24
     p.m., or as soon thereafter as counsel may be heard, counsel for Plaintiff Bryce
25
     Abbink (Plaintiff” or “Abbink”) shall appear before the Honorable John F. Walter
26
     or any judge sitting in his stead in Courtroom 7A of the United States District Court
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28
              Notice of Motion and Motion for Alternative Service upon Unified Document Services, LLC
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 1   for the Central District of California, 350 W. 1st Street, Los Angeles, CA 90012,
 2   and present Plaintiff’s Motion for Alternative Service upon Unified Document
 3   Services, LLC.
 4          The undersigned further states that that compliance with Local Rule 7-3 is
 5   not feasible because Unified Document Service, LLC has not yet appeared in this
 6   litigation.
 7          This Motion is based on this Notice and Motion, the attached Memorandum
 8   of Points and Authorities and exhibits, oral argument of counsel, and any other
 9   matter that may be submitted at the hearing.
10
11                                                   Respectfully submitted,
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13
     Dated: August 19, 2019                          Bryce Abbink, individually and on behalf of
                                                     all others similarly situated,
14
15                                           By:      /s/ Taylor T. Smith
                                                     One of Plaintiff’s Attorneys
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17                                                   Aaron D. Aftergood (239853)
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25                                                   Attorneys for Plaintiff and the Classes

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 1                  MEMORANDUM OF POINTS AND AUTHORITIES
 2         On June 21, 2019, Plaintiff brought this alleged class action lawsuit alleging
 3   wide-scale violations of the Fair Credit Reporting Act, 15 U.S.C. § 1681, et seq.
 4   (“FCRA” or “Act”). (Dkt. 1.) Plaintiff has successfully served the Complaint on
 5   Experian Information Solutions, Inc. (“Experian”), but he has been unable to serve
 6   Defendant Unified Document Services, LLC (“UDS”).
 7         The California Corporate Code provides for alternative service upon a limited
 8   liability company by delivering the documents by hand to the Secretary of State
 9   when a Court finds, supported by affidavit, that the registered agent for service
10   cannot be found with reasonable diligence and issues an order stating as such. See
11   Cal. Corp. Code § 17701.16(c). According to its most recent California Secretary of
12   State business filing, UDS’s registered agent for service of process, Micah Katz, is
13   located at 1560 Brookhollow Dr., Suite 220, Santa Ana, California 92705. (See
14   UDS Statement of Information, a true and accurate copy of which Ex. A.)
15         On June 21, 2019, this Court issued a summons directed to UDS. (See Dkt.
16   14.) Plaintiff, via process server, has attempted to serve the summons and a copy of
17   the Complaint on UDS on four separate occasions—July 1, 2019, July 16, 2019,
18   July 17, 2019, and July 18, 2019—at the address provided. (See Affidavits of
19   Reasonable Diligence, true and accurate copies of which are attached hereto as Ex.
20   B.) On each occasion, employees of UDS state that Micah Katz is not in the office.
21   (See Ex. B.)
22         Despite repeated service attempts, Plaintiff has been unable to effectuate
23   service upon Defendant. As detailed above and supported by affidavits, Plaintiff has
24   made reasonable and diligent attempts to serve Defendant UDS and has been unable
25   to complete service. Therefore, in accordance with Cal. Corp. Code § 17701.16(c),
26   Plaintiff respectfully requests that the Court issue an order permitting alternative
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              Notice of Motion and Motion for Alternative Service upon Unified Document Services, LLC
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 1   service by way of serving process upon the California Secretary of State as
 2   Defendant’s agent.
 3           WHEREFORE, Plaintiff respectfully requests that the Court grant the
 4   present motion and issue an order permitting Plaintiff to effectuate service upon
 5   Defendant Unified Document Services, LLC by means of service upon California’s
 6   Secretary of State, and for such additional relief as the Court deems necessary and
 7   just.
 8
 9                                                   Respectfully submitted,
10
11
     Dated: August 19, 2019                          Bryce Abbink, individually and on behalf of
                                                     all others similarly situated,
12
13                                           By:      /s/ Taylor T. Smith
                                                     One of Plaintiff’s Attorneys
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15                                                   Aaron D. Aftergood (239853)
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23                                                   Attorneys for Plaintiff and the Classes

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 1                                CERTIFICATE OF SERVICE
 2         The undersigned hereby certifies that a true and correct copy of the above
 3   titled document was served upon counsel of record by filing such papers via the
 4   Court’s ECF system on August 19, 2019.
 5                                                 /s/ Taylor T. Smith
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